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12                               UNITED STATES DISTRICT COURT

13                             NORTHERN DISTRICT OF CALIFORNIA

14                                    SAN FRANCISCO DIVISION

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16 In re: CATHODE RAY TUBE (CRT)                         Master Case No. 07-5944 SC
   ANTITRUST LITIGATION                                  MDL No. 1917
17
                                                         [PROPOSED] ORDER GRANTING
18 This Document Relates to:                             DEFENDANTS’ MOTION FOR PARTIAL
                                                         SUMMARY JUDGMENT AS TO
19 INDIRECT PURCHASER ACTIONS                            INDIRECT PURCHASER PLAINTIFFS’
                                                         AND CERTAIN DIRECT ACTION
20 Interbond Corporation of America v.                   PLAINTIFFS’ STATE LAW CLAIMS ON
   Technicolor SA, et al., No. 13-cv-05727;              STATUTE OF LIMITATIONS GROUNDS
21
   Interbond Corporation of America v. Hitachi,          Date: February 6, 2015
22 Ltd. et al., No. 3:11-cv-06275;                       Time: 10:00 a.m.
                                                         Ctrm: 1
23 Office Depot, Inc. v. Technicolor SA, et al., No.     Judge: Hon. Samuel Conti
   13-cv-05726;
24
   Office Depot, Inc. v. Hitachi, Ltd. et al., No.
25 3:11-cv-06276;

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     SMRH:436102686.1          [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
                                           AS TO CERTAIN STATE LAW CLAIMS ON STATUTE OF LIMITATIONS GROUNDS
      Case 4:07-cv-05944-JST Document 3448-1 Filed 01/23/15 Page 2 of 2




 1           Defendants’ Motion for Partial Summary Judgment as to Indirect Purchaser Plaintiffs’ and

 2 Certain Direct Action Plaintiffs’ State Law Claims on Statute of Limitations Grounds (the

 3 “Motion”) came on regularly for hearing before this Court.

 4           Having considered all the papers filed in support of and in opposition of the Motion, and

 5 having entertained argument of counsel, and good cause appearing, IT IS HEREBY ORDERED

 6 that the Motion is GRANTED, and the following claims are DISMISSED with prejudice as

 7 untimely:

 8           1.         Interbond and Office Depot’s claims under the Florida Deceptive and Unfair Trade

 9 Practices Act (the “FDUTPA”) based on purchases made before November 14, 2007; and

10           2.         The Indirect Purchaser Plaintiffs’ FDUTPA claims based on purchases made before

11 November 13, 2003.

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13           IT IS SO ORDERED.
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16           DATED: ______________, 2015

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19                                                             HONORABLE SAMUEL CONTI
20                                                            UNITED STATES DISTRICT JUDGE
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     SMRH:436102686.1              [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
                                               AS TO CERTAIN STATE LAW CLAIMS ON STATUTE OF LIMITATIONS GROUNDS
